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                            UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                                 )
    IN RE:                                                       )
                                                                 )     No. 14-MD-2543 (JMF)
    GENERAL MOTORS LLC                                           )     No. 14-MC-2543 (JMF)
    IGNITION SWITCH LITIGATION                                   )
                                                                 )     Hon. Jesse M. Furman
    This Document Relates To All Economic Loss Actions           )
                                                                 )


          FINAL ORDER AND FINAL JUDGMENT GRANTING FINAL APPROVAL OF
         THE ECONOMIC LOSS CLASS ACTION SETTLEMENT, CONFIRMING
        CERTIFICATION OF THE ECONOMIC LOSS SETTLEMENT CLASS, AND
                  DISMISSING ALL ACTIONS WITH PREJUDICE

          WHEREAS, Economic Loss Plaintiffs (“Plaintiffs”), General Motors LLC (“New GM”),

the Motors Liquidation Company GUC Trust (the “GUC Trust”), and the Motors Liquidation

Company Avoidance Action Trust (the “AAT”) (collectively, the “Parties”) have entered into a

Settlement Agreement, as Amended on May 1, 2020, including all Exhibits thereto (collectively

the “Settlement Agreement” (ECF No. 7888-1)), subject to preliminary and final approval by this

Court;1

          WHEREAS, the Settlement Agreement sets forth the terms and conditions of a proposed

settlement and dismissal with prejudice of (a) all economic loss claims, whether asserted as class,

mass, or individual actions, however denominated, that are consolidated for pretrial proceedings

in In re: General Motors LLC Ignition Switch Litigation, Case No. 14-MD-2543 (JMF) (“MDL

2543”), including those listed in Exhibit 1 to the Settlement Agreement (attached for ease of




1
      Capitalized terms used herein but not otherwise defined shall have the meaning assigned to such terms
      in the Settlement Agreement. Unless otherwise noted, all docket references are to 14-MD-2543.
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reference as Appendix C) and all economic loss claims relating to the Recalls2 filed in the past,

present, or future in any federal or state court, and (b) all economic loss claims, whether asserted

as class, mass, or individual claims, including all Late Claims Motions and all Proposed Proofs of

Claims involving alleged economic loss, however denominated, filed, or asserted in the

Bankruptcy Case3 ((a) and (b) collectively, the “Actions” as defined in the Settlement Agreement);

        WHEREAS, by Order dated April 27, 2020 (the “Preliminary Approval Order,” ECF No.

7877), this Court: (i) preliminarily approved the Settlement; (ii) ordered that notice of the proposed

Settlement be provided to the Class; (iii) provided Class Members with the opportunity to object



2
    “Recalls” is defined in the Settlement Agreement as the following seven motor vehicle recalls
    conducted by New GM in 2014 as described by National Highway Transportation Safety
    Administration (“NHTSA”) recall number: NHTSA Recall No. 14v047 (Delta Ignition Switch),
    NHTSA Recall No. 14v355 (Impala Key Rotation), NHTSA Recall No. 14v394 (Cadillac CTS/SRX
    Key Rotation), NHTSA Recall No. 14v400 (Malibu Key Rotation), NHTSA Recall No. 14v346 (Knee-
    to-Key Camaro), NHTSA Recall No. 14v118 (Side Airbag), and NHTSA Recall No. 14v153 (Power
    Steering). NHTSA Recall No. 14v047 encompassed (1) 2005-2007 Chevrolet Cobalt; 2006-2007
    Chevrolet HHR; 2007 Pontiac G5; 2007 Saturn Sky; 2003 Saturn Ion; and 2006-2007 Pontiac Solstice;
    and (2) 2008-2010 Chevrolet Cobalt; 2008-2011 Chevrolet HHR; 2008-2010 Pontiac G5; 2008-2010
    Saturn Sky; and 2008-2010 Pontiac Solstice. NHTSA Recall No. 14v355 encompassed the 2005-2009
    Buick Lacrosse; 2006-2014 Chevrolet Impala; 2000-2005 Cadillac Deville; 2006-2011 Cadillac DTS;
    2006-2011 Buick Lucerne; and 2006-2007 Chevrolet Monte Carlo. NHTSA Recall No. 14v394
    encompassed certain 2003-2014 Cadillac CTS (as identified by VIN); and certain 2004-2006 Cadillac
    SRX (as identified by VIN). NHTSA Recall No. 14v400 encompassed the 2000-2005 Chevrolet
    Impala; 1997-2003 Chevrolet Malibu; 2000-2005 Chevrolet Monte Carlo; 1999-2004 Oldsmobile
    Alero; 1998-2002 Oldsmobile Intrigue; 1999-2005 Pontiac Grand Am; and 2004-2008 Pontiac Grand
    Prix. NHTSA Recall No. 14v346 encompassed 2010-2014 Chevrolet Camaros. NHTSA Recall No.
    14v118 encompassed some 2008-2009 (as identified by VIN) and all 2010-2013 Buick Enclave; some
    2009 (as identified by VIN) and all 2010-2013 Chevrolet Traverse; some 2008-2009 (as identified by
    VIN) and all 2010-2013 GMC Acadia; and 2008-2010 Saturn Outlook. NHTSA Recall 14v153
    encompassed some 2005-2010 Chevrolet Cobalt, some 2009-2010 Chevrolet HHR, some 2007-2010
    Pontiac G5, 2004-2007 Saturn Ion, 2004-2005 Chevrolet Malibu; 2004-2005 Chevrolet Malibu Maxx
    and some 2006 Chevrolet Malibu Maxx (as identified by VIN); some 2005-2006 and 2008-2009
    Pontiac G6 (as identified by VIN); and some 2008-2009 Saturn Aura (as identified by VIN).
3
    “Bankruptcy Case” is defined in the Settlement Agreement as the chapter 11 case pending in the United
    States Bankruptcy Court for the Southern District of New York captioned In re Motors Liquidation
    Co., et al., f/k/a General Motors Corp., et al., Case No. 09-50026 (MG).

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to the proposed Settlement; (iv) provided Class Members with the opportunity to exclude

themselves from the Class; and (v) scheduled a hearing regarding final approval of the Settlement;

       WHEREAS, the Settlement Agreement was amended on May 1, 2020 to allow the Motors

Liquidation Company Avoidance Action Trust (“AAT”) to become a party to the Settlement

Agreement and the Court entered an Order on May 4, 2020 supplementing the Preliminary

Approval Order to allow for AAT’s entry into the Settlement Agreement and authorizing the

Parties to take, without further Court approval, all necessary and appropriate steps to implement

the Settlement Agreement, including the Class Notice program utilizing amended Class Notice

exhibits to address including AAT (“Order Supplementing Order Granting Preliminary Approval,”

ECF No. 7892);

       WHEREAS, due and adequate notice has been given to the Class via the Class Notice

program authorized and approved by the Court;

       WHEREAS, the Court conducted a hearing on December 18, 2020 (the “Fairness

Hearing”) to consider, among other things, (i) whether the terms and conditions of the Settlement

are fair, reasonable, and adequate to the Settlement Class, and should therefore be approved; (ii)

whether the proposed Class and Subclasses should be finally certified for settlement purposes only;

and (iii) whether a final judgment should be entered dismissing the Actions with prejudice; and

       WHEREAS, the Court having reviewed and considered the Settlement Agreement, all

papers filed and proceedings held herein in connection with the Settlement, all oral and written

comments received regarding the Settlement, and the record in the Actions, and good cause

appearing therefor; IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:




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        1.      Jurisdiction. The Court has personal jurisdiction over all Plaintiffs, the Class and

all Class Members, New GM, the GUC Trust, and AAT, as well as subject matter jurisdiction over

the claims asserted in the Fifth Amended Consolidated Complaint filed in In re: General Motors

LLC Ignition Switch Litigation, Case No. 14-MD-2543 (JMF) on September 8, 2017 (“5ACC”)

and the Actions. Venue in the Southern District of New York is proper.

        2.      Incorporation of Settlement Documents. The Court expressly incorporates in

this Final Order and Final Judgment and makes a part hereof (a) the Settlement Agreement (ECF

No. 7888-1) and (b) the Court’s oral ruling, on the record, during the Fairness Hearing held on

December 18, 2020. The Court does this for the purpose of satisfying the requirements of

Kokkonen v. Guardian Life Insurance Co. of America, 511 U.S. 375, 380-82 (1994), concerning

the obligation of a Court entering a settlement agreement to speak clearly when it wishes to retain

jurisdiction.

        3.      Final Approval of Class Settlement. In accordance with its Final Approval Order,

the Court hereby grants final approval to the Settlement Agreement as fair, reasonable, and

adequate pursuant to Federal Rule of Civil Procedure 23(e). The Settlement Agreement provides

ample benefits to the Class and avoids protracted litigation, among numerous other advantages.

The Court finds that the Settlement Agreement, with respect to Class Members who are minors,

lack capacity, or are incompetent, is fair, reasonable, and adequate. The Court authorizes the

Parties to implement the terms of the Settlement Agreement and enjoins the Parties from failing to

implement the terms.

        4.      Overruling of Objections. The Class Member objection filed by Mr. Richard H.

Warren (ECF No. 8122) is overruled. The objection filed by Ms. Kisha M. Davis, as personal

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representative of the estate of her mother, Class Member Mary L. Davis (ECF No. 8216), is also

overruled.4

        5.      Class Certification for Settlement Purposes Only.

                a.      Pursuant to Rules 23(a)(1)-(4) and (b)(3) of the Federal Rules of Civil

Procedure, the Court certifies the Class as defined in the Settlement Agreement (attached as

Appendix A), for purposes of the Settlement only.

                b.      The Court finds, for settlement purposes only, that the Class, including all

Subclasses, meets the requirements for class certification under Federal Rules of Civil Procedure

23(a) and 23(b)(3) — namely (a) the Class Members are sufficiently numerous such that joinder

is impracticable; (b) there are common questions of law and fact; (c) the Plaintiffs’ claims are

typical of those of the Class Members; (d) the Plaintiffs and Plaintiffs’ Class Counsel have

adequately represented, and will continue to adequately represent, the interests of the Class

Members, and the Subclasses are adequately represented by proposed Subclass Counsel, which

includes the attorneys who served as Allocation Counsel; and (e) questions of law and fact

common to the Class predominate over the questions affecting only individual Class Members,

and certification of the Class is superior to other available methods for the fair and efficient

adjudication of this controversy.




4
    The Court has also reviewed certain letters sent to JND by Class Members or their relatives that JND
    provided to the Court. See JND Declaration ¶ 37. These are not objections, because, inter alia, they
    were not filed with the Court. Even if they had been proper objections, the Court would have overruled
    them as without merit. Additionally, for the reasons discussed in an opinion and order to be issued
    separately today, the Court finds that non-Class Member Goodwin Proctor lacks standing to object, and
    its “limited objection” is also overruled on the merits. See ECF 8207 ¶ 10.

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               c.      The Class excludes under Federal Rules of Civil Procedure 23(b)(3) and

23(c)(3)(B) those Persons who signed and filed timely and proper exclusion requests (opt-outs)

pursuant to the terms of the Settlement Agreement and this Court’s Preliminary Approval Order

on or before the October 19, 2020 deadline, and who did not file a written notice with the Court

revoking their exclusion at any time prior to entry of this Order. The Court finds that of the 164

Persons seeking to opt-out for 195 total Subject Vehicles, the requests by 25 Persons covering 32

Subject Vehicles are invalid and are hereby rejected; the requests of 62 Persons for 68 Subject

Vehicles conform to the requirements of the Court’s Preliminary Approval Order and the

Settlement Agreement and are hereby accepted as valid; and the requests of 84 Persons for 95

Subject Vehicles while deficient due to technicalities nonetheless will be accepted by the Court as

valid.5 Accordingly, the Court rules that all Persons who fall within the class definition are Class

Members except those 146 Persons named on the Opt-Out List (attached as Appendix B).

       6.      Appointments of Class and Subclass Representatives. The Court confirms the

appointment of the Class and Subclass Representatives listed in Paragraphs 9 and 10 of the

Preliminary Approval Order.

       7.      Appointments of Class Counsel and Allocation Counsel.

               a.      The Court confirms the appointment, for settlement purposes only, of Steve

W. Berman, of Hagens Berman Sobol Shapiro LLP, and Elizabeth J. Cabraser of Lieff Cabraser

Heimann & Bernstein, LLP, as Class Counsel under Federal Rule of Civil Procedure 23(g)(3).


5
    As of November 9, 2020, there were four additional Persons (associated with five distinct VINs)
    seeking to opt-out who were missing documentation to represent the deceased class member. These
    four Persons were given until the Final Hearing by JND to provide documentation. Only one Person
    provided documentation to JND by the Final Hearing. As such, the remaining three Persons who did
    not provide documentation to JND by the Final Hearing are invalid opt-outs.

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Class Counsel are authorized to act on behalf of the Class with respect to all acts required by,

which may be given pursuant to, or which are reasonably necessary to perform the Settlement

Agreement.

               b.     The Court confirms the appointment, for settlement allocation purposes

only, of (i) Marc Seltzer of Susman Godfrey as Subclass 1 Counsel; (ii) Joe Rice and Kevin Dean

of Motley Rice as Subclass 2 Counsel; (iii) Peter Prieto and Matthew Weinshall of Podhurst

Orseck, P.A. as Subclass 3 Counsel; (iv) David Boies and Steven Davis of Boies Schiller Flexner

LLP as Subclass 4 Counsel; and (v) Adam Levitt and John Tangren of DiCello Levitt Gutzler as

Subclass 5 Counsel (collectively, “Subclass Counsel”). Subclass Counsel are authorized to act on

behalf of the Subclasses with respect to all acts required by, which may be given pursuant to, or

which are reasonably necessary to perform, the Settlement Agreement.

       8.      Class Action Settlement Administrator. The Court confirms the appointment of

Jennifer Keough of JND Legal Administration (“JND”) as Class Action Settlement Administrator

and directs Ms. Keough to carry out all duties and responsibilities of the Class Action Settlement

Administrator as specified in the Settlement Agreement and herein.

       9.      Common Fund.          Pursuant to the Settlement Agreement, all Settlement

Implementation Expenses shall be paid from the Common Fund, which was established as a

Qualified Settlement Fund under § 468B(d)(2) of the Internal Revenue Code and Treasury

Regulation § 1.468B-1 pursuant to this Court’s Preliminary Approval Order, by the court-approved

Qualified Settlement Fund Administrator and Trustee, Flora Bian of JND; however, all such

Settlement Implementation Expenses shall be paid from the Common Fund only upon either (i)




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written approval by Plaintiffs’ Class Counsel, New GM, and the GUC Trust6 or (ii) leave of Court.

The Court finds that, pursuant to Paragraph 88.a of the Settlement Agreement, following entry of

the GUC Trust Approval Order, the Withdrawal Order, and the Preliminary Approval Order, New

GM and the GUC Trust deposited, respectively, $8,800,000.00 and $2,000,000.00 into the

Common Fund.

        10.     Allocation of Net Common Fund. The Court finds that the Settlement Claim

Review Protocol and the Allocation Decision are a fair and reasonable method to allocate the Net

Common Fund, and the Parties, the Class Action Settlement Fund Administrator, and the Qualified

Settlement Fund Administrator are directed to administer the Settlement Claim Review Protocol

and Allocation Decision in accordance with their terms.

        11.     Settlement and CAFA Notice. The Court finds that the Class Notice and Class

Notice Plan satisfied and continue to satisfy the applicable requirements of Federal Rules of Civil

Procedure 23(c)(2)(b) and 23(e), and fully comply with all laws, including the Class Action

Fairness Act (28 U.S.C. § 1711 et seq.), and the Due Process Clause of the United States

Constitution (U.S. Const., amend. V), constituting the best notice that is practicable under the

circumstances of this litigation.

        12.     Class Members’ Release and Permanent Injunction. The Court finds that the

Class Members’ Release contained in Paragraphs 121-134 of the Settlement Agreement is valid

and enforceable. The Class Members’ Release is effective automatically as of the Final Effective



6
    All Settlement Implementation Expenses incurred prior to the Final Effective Date must be agreed to
    in writing by all of Plaintiffs’ Class Counsel, New GM, and the GUC Trust. All Settlement
    Implementation Expenses incurred on or after the Final Effective Date must be agreed to in writing by
    Plaintiffs’ Class Counsel and New GM.

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Date.7 Pursuant to Paragraphs 121-134 of the Settlement Agreement, the Court permanently bars

and enjoins each Class Member from commencing, filing, initiating, asserting, instituting,

maintaining, consenting to, and/or prosecuting any judicial, arbitral, or regulatory action against

the Released Parties with respect to any and all claims, demands, suits, arbitrations, mediations,

petitions, liabilities, causes of actions, rights, and damages of any kind and/or type included in the

Class Members’ Release.

        13.     GUC Trust’s, New GM’s, and the AAT’s Release of Plaintiffs’ Class Counsel,

Allocation Counsel, and Designated Counsel. The Court finds that GUC Trust’s, New GM’s,

and the AAT’s Release of Plaintiffs’ Class Counsel, Allocation Counsel, and Designated Counsel

contained in Paragraph 135 of the Settlement Agreement is valid and enforceable. GUC Trust’s,

New GM’s, and the AAT’s Release of Plaintiffs’ Class Counsel, Allocation Counsel, and

Designated Counsel Release is effective automatically upon the Final Effective Date. Pursuant to

Paragraph 135 of the Settlement Agreement, the Court enjoins the GUC Trust, New GM, and the




7
    The “Final Effective Date” is defined in the Settlement Agreement as “the latest date on which the Final
    Order and Final Judgment approving this Agreement becomes final. For purposes of this Agreement:

        a. if no appeal has been taken from the Final Order and/or Final Judgment in the MDL Court, then
        ‘Final Effective Date’ means the date on which the time to appeal therefrom has expired; or

        b. if any appeal has been taken from the Final Order and/or Final Judgment in the MDL Court, then
        ‘Final Effective Date’ means the date on which all appeals therefrom, including petitions for
        rehearing or re-argument, petitions for rehearing en banc and petitions for certiorari or any other
        form of review, have been finally disposed of in a manner that affirms the Final Order or Final
        Judgment in all respects; or

        c. if Plaintiffs’ Class Counsel, New GM, and the GUC Trust all agree in writing, then the ‘Final
        Effective Date’ can occur on any other agreed date, provided, however, that, pursuant to the
        direction of the MDL Court, the MDL Court must issue an Order approving any such date agreed
        upon by the parties.”

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AAT from taking any action that violates the Release of Plaintiffs’ Class Counsel, Allocation

Counsel, and Designated Counsel.

       14.     Releases between the GUC Trust, the AAT, and New GM. The Court finds that

the Releases between the GUC Trust, the AAT, and New GM contained in Paragraphs 136-148 of

the Settlement Agreement are valid and enforceable and were the product of intense and detailed

negotiations between the Parties in light of prior experience by the Parties in this litigation. The

Releases between the GUC Trust, the AAT, and New GM were effective as of the Excess

Distribution Date per the Settlement Agreement.          Pursuant to Paragraphs 136-148 of the

Settlement Agreement, the Court enjoins GUC Trust, the AAT, and New GM from taking any

action that violates the terms of the Releases between the GUC Trust, the AAT, and New GM.

       15.     Barred Claims. The Court finds that the bar against claims contained in Paragraph

173 of the Settlement Agreement is valid and enforceable. Pursuant to Paragraph 173, any party

in interest in the Bankruptcy Case, any party in interest in MDL 2543, and any other Person is

barred and enjoined from asserting or attempting to assert claims against or impose liability on any

of the GUC Trust Released Parties, the New GM Released Parties and/or the AAT Released Parties

for any matter arising out of, in connection with, or related to the Settlement Agreement, the

Actions, and/or the Proposed Proofs of Claims (“Barred Claims”).

       16.     No Admissions. Neither this Final Order and Final Judgment, nor the Settlement

Agreement (nor any other document referred to herein, nor any action taken to carry out this Final

Order and Final Judgment), is, may be construed as, or may be used as, an admission, adjudication,

or evidence of any violation of any statute or law or of any liability or wrongdoing by the Released

Parties or of the truth of any of the claims or allegations alleged in the 5ACC, the Actions, the Late

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Claims Motions, or the Proposed Proofs of Claim, or the incurrence of any damage, loss, or injury

by any Person.

       17.       Dismissal of Claims. Subject to paragraph 12, supra, in consideration of the

benefits provided under this Agreement, all released claims as set forth in the Class Members’

Release by or on behalf of the Class, Plaintiffs, or any and all Class Members against any and all

Released Parties, are dismissed with prejudice, including the 5ACC and the Actions listed in

Appendix C, subject to Paragraphs 151 and 152 of the Settlement Agreement. See supra ¶ 15.

Subject to paragraph 12, supra, the Court dismisses the 5ACC and the Actions with prejudice

without further costs, including claims for interest, penalties, costs, and attorneys’ fees (except as

otherwise provided in the Settlement Agreement). As discussed on the record during the Fairness

Hearing, no later than January 7, 2021, New GM and Lead Counsel shall submit a proposed Order

or competing Orders and letter briefs establishing a process for Plaintiffs in Actions listed in

Appendix C who allege claims not subject to release under the Settlement Agreement and this

Judgment to file amended complaints limited to such claims and to adjudicate any related disputes.

The proper terms of the dismissals include the retention of jurisdiction contained in paragraph 18

infra, which is included for purposes of compliance with the Supreme Court’s decision in

Kokkonen, 511 U.S. 375. Subject to paragraph 12, supra, the Court orders all Class Members with

released claims pending in any federal or state court, forum, or tribunal other than this Court to

dismiss with prejudice such released claims without further costs, including claims for interest,

penalties, costs, and attorneys’ fees (except as otherwise provided in the Settlement Agreement).

       18.       Retention of Jurisdiction. Without affecting the finality of this Final Order and

Final Judgment in any way, this Court retains continuing and exclusive jurisdiction over the

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Parties, the Class Members, the Settlement Agreement, the Actions pending before the MDL

Court, and the Final Order and the Final Judgment (i) to administer and enforce the Settlement

Agreement, (ii) for all matters relating to the Settlement Agreement and the Actions pending before

the MDL Court, and (iii) for any other necessary purpose. The Court does this for the purpose of

satisfying the requirements of Kokkonen, 511 U.S. 375, concerning the obligation of a Court

entering a settlement agreement to speak clearly when it wishes to retain jurisdiction.          In

accordance with the terms of the Qualified Settlement Fund Trust Agreement, the Court also

retains continuing jurisdiction and supervision over (1) the Common Fund, which was established

as a Qualified Settlement Fund, and (2) the Qualified Settlement Fund Administrator and Trustee.

       19.     Termination of Settlement. If the Settlement is terminated as provided in Section

XI of the Settlement Agreement or the Final Effective Date of the Settlement Agreement otherwise

fails to occur, this Final Order and Final Judgment shall be vacated, rendered null and void and be

of no further force and effect, except as otherwise provided by the Settlement Agreement, and this

Final Order and Final Judgment shall be without prejudice to the rights of Plaintiffs, the other

Class Members, New GM, the GUC Trust, and the AAT, and the Parties shall revert to their

respective pre-settlement positions in the Actions and in any released claims previously pending

in any other federal or state court, forum, or tribunal that Class Members’ dismissed with prejudice

to the extent provided in the Settlement Agreement.

       20.     Compliance with Rule 65(d). The Court has considered and framed this Final

Order and Final Judgment in light of Federal Rule of Civil Procedure 65(d). The incorporation of

the terms of the Settlement Agreement into this Final Order and Final Judgment are for the purpose

of approving the Settlement, establishing the benefits of the Settlement available to Class Members

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set forth in Section II of the Settlement Agreement, and enforcing the releases, waivers, and

covenants not to sue set forth in Section VI of the Settlement Agreement. The benefits of the

Settlement Agreement set forth in Section II of the Settlement Agreement are optional and not

mandatory for Class Members. This Order describes in reasonable detail the acts restrained in

Paragraphs 3, 11, 12, 13, 14, and 15 above. Hence, this Final Order and Final Judgment fully

complies with Federal Rule of Civil Procedure 65(d)(1)(C).

       21.     Entry of Final Judgment. The Clerk of the Court is expressly directed to

immediately enter this Final Order and Final Judgment in the Actions listed in Appendix C. The

Clerk is further directed to terminate 14-MD-2543, ECF No. 8240 and 14-MC-2543, ECF No. 409

and to close Elliott, et al. v. General Motors LLC, et al., No. 14-CV-8382; Bledsoe, et al. v. General

Motors LLC, No. 14-CV-7631; and Sesay, et al. v. General Motors LLC, et al., No. 14-CV-6018.

         SO ORDERED.

Signed this 18th day of December, 2020.


                                                       Honorable Jesse M. Furman
                                                       United States District Judge




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                             APPENDIX A: CLASS DEFINITION

       “Class” means, for settlement purposes only, all Persons who, at any time as of or before

the Recall Announcement Date of the Recall(s) applicable to the Subject Vehicle, own(ed),

purchase(d), and/or lease(d) a Subject Vehicle in any of the fifty States, the District of Columbia,

Puerto Rico, Guam, the U.S. Virgin Islands, and all other United States territories and/or

possessions. The Class is comprised of five Subclasses as follows (the “Subclasses”), and a Class

Member who own(ed), purchase(d), and/or lease(d) more than one Subject Vehicle is included

within different Subclasses listed below and shall be a member of each applicable Subclass:

       a. Subclass 1: The Delta Ignition Switch Subclass, comprised of those Class Members

           who own(ed), purchase(d), and/or lease(d) a Subject Vehicle subject to NHTSA Recall

           No. 14v047. Proposed Subclass 1 Counsel is Marc Seltzer of Susman Godfrey LLP.

       b. Subclass 2: The Key Rotation Subclass, comprised of those Class Members who

           own(ed), purchase(d), and/or lease(d) a Subject Vehicle subject to NHTSA Recall Nos.

           14v355, 14v394, and 14v400. Proposed Subclass 2 Counsel are Joe Rice and Kevin

           Dean of Motley Rice LLC.

       c. Subclass 3: The Camaro Knee-Key Subclass, comprised of those Class Members who

           own(ed), purchase(d), and/or lease(d) a Subject Vehicle subject to NHTSA Recall No.

           14v346. Proposed Subclass 3 Counsel are Peter Prieto and Matthew Weinshall of

           Podhurst Orseck, P.A.

       d. Subclass 4: The Electronic Power Steering Subclass, comprised of those Class

           Members who own(ed), purchase(d), and/or lease(d) a Subject Vehicle subject to




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           NHTSA Recall No. 14v153. Proposed Subclass 4 Counsel are David Boies and Steven

           Davis of Boies Schiller Flexner LLP.

       e. Subclass 5: The Side Airbag Subclass, comprised of those Class Members who

           own(ed), purchase(d), and/or lease(d) a Subject Vehicle subject to NHTSA Recall No.

           14v118. Proposed Subclass 5 Counsel are Adam Levitt and John Tangren of DiCello

           Levitt Gutzler.

Excluded from the Class are: (a) the MDL Court and the Bankruptcy Court and each of their

personnel and the judicial officers presiding over the Actions and members of their immediate

family and staffs; (b) authorized GM dealers who executed a dealer agreement with New GM or

Old GM; (c) daily rental fleet purchasers, owners and lessees (including all registrants of a Subject

Vehicle identified as “rental” in the IHS Markit / Polk vehicle registration data provided by New

GM to the Class Action Settlement Administrator); (d) governmental or quasi-governmental

bodies, political subdivisions, and any agency or instrumentality thereof (including all registrants

of a Subject Vehicle designated as “governmental” in the IHS Markit / Polk vehicle registration

data provided by New GM to the Class Action Settlement Administrator); (e) each Person who did

not own, purchase, and/or lease a Subject Vehicle until after the Recall Announcement Date

applicable to that Subject Vehicle; (f) all counsel (and their law firms) representing Plaintiffs in

the Actions, including Plaintiffs’ Class Counsel, Allocation Counsel, Designated Counsel, and

members of their immediate family; (g) all Persons who released claims relating to the Actions

against all of the GUC Trust, the AAT, Old GM and New GM concerning a Subject Vehicle,

including without limitation all Persons who signed a consumer release and received a payment

from the Arizona Attorney General pursuant to the Consent Decree entered on March 8, 2018 by

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the Superior Court of the State of Arizona in the matter of Arizona v. General Motors LLC, No.

CV 2014-014090 (Maricopa County, Ariz.), all Persons who signed a GM Ignition Compensation

Claims Resolution Facility Release of All Claims and received payment from Claims

Administrator Kenneth Feinberg, and Persons who signed and notarized a release to settle a lawsuit

or unfiled claims with New GM pertaining to a motor vehicle accident involving the Subject

Vehicle in which the release released claims relating to the Actions against all of the GUC Trust,

Old GM and New GM concerning the Subject Vehicle; and (h) all Persons who are Opt-Outs.




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                             APPENDIX B: LIST OF OPT OUTS

Valid Opt Outs:

                  Name                          Last 5 Digits of VIN
           Araceli Berumen                          43470
           Barbara M. Allen                         20094
            Beverly Moore                           73219
             Bobby Pryor                            56897
            Brenda Miller                           28962
   Cesar Augusto Gonzalez-Miranda                   43408
              Craig May                             85951
             Dana Watson                            79513
            Daron Arnold                            93408
          David Williamson                          02836
          David Williamson                          72481
            Diane Piscopo                           93084
    Diane Tomasic on behalf of Rita                 90894
              Tomasic
           Donna M. Slyster                         61035
            Elizabeth Hyzy                          26315
             Elliott Peaks                          05492
             Eric Sherman                           36132
            Gabriel Ochoa                           15645
            Gail L. Keyser                          23230
             Glen Gargus                            97815
           Glenn E. Hansen                          28590
           Glenn E. Hansen                          11107
           Gregory Fischer                          03470
            James Arbaugh                           17313
             James Banks                            15097
            James E Farrell                         51111

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          Jami Harrison                     73183
         Jeannette Mabee                    37905
         Jessie Montalvo                    45128
            Joe Young                       69940
            Joe Young                       08201
        John F. Slyster, Jr.                61035
           Joseph Falisi                    42312
           Karen Eder                       29012
         Kerry A Esparza                    54875
           Kevin Reber                      81435
           Kevin Shill                      34842
         Kimberly Gray                      59095
         Larry VanHook                      84151
           Leslie Rose                      29787
    Linda Diane Persson Grill               08592
     Lois Helen Friedrichsen                59488
           Lori Jackson                     10513
           Lory Ochoa                       15645
           Lynn Sutton                      92862
           Lynn Sutton                      27022
           Maria Shill                      34842
      Mary Inez M Portillo                  65660
            Mary May                        85951
       Maureen McCafferty                   29124
      Melissa Ann Robbins                   24552
        Melissa Shoemate                    95022
         Mervin Volker                      49526
          Nicole Leitner                    18415
         Omar Espinosa                      34079
Pam Santanasto on behalf of Joanne          25534
              Ellis
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Pam Santanasto on behalf of Joanne          02855
              Ellis
           Patti Frye                       40179
        Rafael O. Vicente                   63502
        Richard Guerrero                    98525
          Russel Miller                     28962
      Sebastian Montecristo                 09373
          Steven Sowa                       41527
          Steven Sowa                       14724
        Travis Manteuffel                   31493
          Victor Walker                     70527
      Vilayvan Phaouthoum                   35019
          Wanda Volker                      70814




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Deficient Opt Outs:


               Name                 Last 5 Digits of VIN

       Alexander MacKenzie                64359
         Andrew Klotzbach                 75171
         Andrew Klotzbach                 17214
           Angela Coyle                   46853
          Anita Cornelius                 08368
         Ann Trimble-Ray                  76837
         Anthony Palumbo                  74025
        Arlene J. McKnight                53350
           Bettye Ames                    77896
          Beverly Mytko                   31889
        Beverly Thompson                  37540
        Beverly Thompson                  83507
            Carol Riley                   85264
          Carolina Aguero                 63679
         Charles B. Gosling               32804
       Charles J. Bocchicchio             50635
          Colleen Phillips                25677
          Connie Xanders                  60631
          Constance Diaz                  76172
         Constance Shelley                63024
             Dale Gray                    87972
          Darlene Xanders                 60631
        David J. Bulcavage                27336
          Dennis Barnoski                 95022
        Dixie Lynn LoVerde                20809
        Donetta Richardson                17751
          Donna F. Kelly                  89309
           Donna Fisher                   35894
      Edmund B. Nightingale               82035
         Edward Sanders                   51134
            Elton Lee                     75199
        Eugene Chapman                    03176
        Eugene Chapman                    39022
       Feldkamp Feldkamp                  98185

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   Francine Rosman                   00947
     Gene Hansen                     76133
    Gladys Harris                    15896
   Helen M. Seidel                   10757
 Ina J. Porter Brasher               11811
   James B Rhoden                    05015

    James Bevins                     49546
    James Bevins                     59509

   James Kaspszak                    31665
   James Kaspszak                    91302
   James Kaspszak                    50247
   James Kaspszak                    13203
    Jerilyn Lanagan                  46699
      John Karhoff                   37977
      John Karhoff                   04494
  Joyce A. Berkovitz                 09453
       Kaci Frame                    00067
    Kevin Williams                   22028
   Kristopher Beard                  00310
      Lana Doolin                    61034
     Linda Robison                   24480
     Lisa Tarantino                  26966
     Lydia Renteria                  95418
    Margaret Beard                   00310
   Margaret Sanford                   N/A
     Maria Parmer                    89797
    Marlene Hobbs                    07250
   Mary Lou Yindra                   06235
    Melissa L York                    N/A
      Oliver White                   03925
        Pat Frye                     40179
   Patricia Rowland                  55126
     Patricia Shealy                 57387
    Philip R. Jones                  71020
    Rachel D Laird                   76926
  Raymond Scarazzo                   93332
   Reanna Barnoski                   95022

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     Rebecca J. Nightingale                 82035
        Rhonda Stewart                      05676
       Richard Johnson                      10763
        Robert L Wood                       22400
       Robert Rowland                       13228
         Rosie Penrod                       43683
        Ruby Chapman                        19124
        Ruby Chapman                        69682
         Sarah Miller                       08457


          Scott Lanagan                     67439
           Shane North                      07327
          Sharon Moeller                    95614
          Sharon Moeller                    32486
       Shirley A. Kalleker                  83326
           Shirley Bock                     04048
         Steven Feldkamp                    98185
    Steven Lawrence LoVerde                 21121
    Steven Lawrence LoVerde                 00910
         Susana Mendoza                     48497
 Teresa L. Kunz, Trustee of The
Alice A. Rafidi Revocable Trust of          57739
               2016
          Theresa Emch                      48497
         Virginia Whitfill                  73623
         Vivian Richeson                    52616
       Walter Hundertmark                   08377




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                  APPENDIX C: LIST OF ECONOMIC LOSS ACTIONS

Alers v. General Motors LLC, No. 15-CV-0179

Andrews v. General Motors LLC, No. 14-CV-5351

Arnold, et al. v. General Motors LLC, et al., No. 14-CV-5325

Ashbridge v. General Motors LLC, et al., No. 14-CV-4781

Ashworth, et al. v. General Motors LLC, No. 14-CV-4804

Balls, et al. v. General Motors LLC, No. 14-CV-4691

Bedford Auto v. General Motors LLC, No. 14-CV-5356

Belt v. General Motors LLC, et al, No. 14-CV-8883

Bender v. General Motors LLC, No. 14-CV-4768

Benton, et al. v. General Motors LLC, No. 14-CV-4268

Biggs v. General Motors LLC, et al., No. 14-CV-5358

Bledsoe, et al. v. General Motors LLC, No. 14-CV-7631

Brandt, et al. v. General Motors LLC, No. 14-CV-4340

Brown, et al. v. General Motors LLC, No. 14-CV-4715

Burton, et al. v. General Motors LLC, et al., No. 14-CV-4771

Camlan, Inc., et al. v. General Motors LLC, No. 14-CV-4741

Childre, et al. v. General Motors LLC, et al., No. 14-CV-5332

Coleman, et al. v. General Motors LLC, No. 14-CV-4731

Corbett, et al. v. General Motors LLC, No. 14-CV-5754

Cox, et al. v. General Motors LLC, et al., No. 14-CV-4701

Darby, et al. v. General Motors LLC, et al., No. 14-CV-4692

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Deighan, et al. v. General Motors LLC, et al., No. 14-CV-4858

DeLuco v. General Motors LLC, No. 14-CV-2713

DePalma, et al. v. General Motors LLC, et al., No. 14-CV-5501

DeSutter, et al. v. General Motors LLC, No. 14-CV-4685

Detton, et al. v. General Motors LLC, et al., No. 14-CV-4784

Deushane, et al. v. General Motors LLC, et al., No. 14-CV-4732

Dinco, et al. v. General Motors LLC, No. 14-CV-4727

Duarte v. General Motors LLC, et al., No. 14-CV-4667

Edwards, et al. v. General Motors LLC, et al., No. 14-CV-4684

Elliott, et al. v. General Motors LLC, et al., No. 14-CV-8382

Elliott, et al. v. General Motors LLC, et al., No. 14-CV-5323

Emerson, et al. v. General Motors LLC, et al., No. 14-CV-4650

Espineira v. General Motors LLC, et. al., No. 14-CV-4637

Favro, et al. v. General Motors LLC, et al., No. 14-CV-4752

Forbes, et al. v. General Motors LLC, No. 14-CV-4798

Foster, et al. v. General Motors LLC, et al., No. 14-CV-4775

Fugate v. General Motors LLC, No. 14-CV-4714

Gebremariam, et al. v. General Motors LLC, No. 14-CV-5340

Groman v. General Motors LLC, No. 14-CV-2458

Grumet, et al. v. General Motors LLC, No. 14-CV-4690

Harris, et al. v. General Motors LLC et al., No. 14-CV-4672

Henry, et al. v. General Motors LLC, et al., No. 14-CV-4811

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Heuler, et al. v. General Motors LLC, No. 14-CV-4345

Higginbotham, et al. v. General Motors LLC, et al., No. 14-CV-4759

Holliday, et al. v. General Motors LLC, et al., No. 14-CV-5506

Hurst, et al. v. General Motors Co., No. 14-CV-4707

Ibanez, et al. v. General Motors LLC, No. 14-CV-5880

Jawad v. General Motors LLC, No. 14-CV-4348

Johnson, et al. v. General Motors LLC, No. 14-CV-5347

Jones v. General Motors LLC, No. 14-CV-5850

Jones v. General Motors LLC, No. 14-CV-4350

Kandziora v. General Motors LLC, et al., No. 14-CV-8386

Kelley, et al. v. General Motors Co., et al., No. 14-CV-4272

Kluessendorf, et al. v. General Motors LLC, et al., No. 14-CV-5035

Knetzke, et al. v. General Motors LLC, et al., No. 14-CV-4641

Kosovec, et al. v. General Motors LLC, et al., No. 14-CV-6830

Krause v. General Motors LLC, No. 14-CV-7977

Lannon, et al. v. General Motors LLC, et al., No. 14-CV-4676

LaReine, et al. v. General Motors LLC, et al., No. 14-CV-4717

Letterio, et al. v. General Motors LLC, et al., No. 14-CV-4857

Leval, et al. v. General Motors LLC, No. 14-CV-4802

Levine v. General Motors LLC, No. 14-CV-4661

Lewis, et al. v. General Motors LLC, et al., No. 14-CV-4720

Maciel, et al. v. General Motors LLC, No. 14-CV-4339

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Malaga et al. v. General Motors LLC, No. 14-CV-4738

Markle, et al. v. General Motors LLC, et al., No. 14-CV-4662

Mazzocchi, et al. v. General Motors LLC, et al., No. 14-CV-2714

McCarthy v. General Motors LLC, et al., No. 14-CV-4758

McConnell, et al. v. General Motors LLC, No. 14-CV-4270

Mullins v. General Motors LLC, No. 14-CV-8885

Nava, et al. v. General Motors LLC, et al., No. 14-CV-4754

Nettleton Auto Sales Inc., et al. v. General Motors LLC, et al., No. 14-CV-4760

Phaneuf, et al. v. General Motors LLC, No. 14-CV-3298

Phillip, et al. v. General Motors LLC, No. 14-CV-4630

Ponce, et al. v. General Motors LLC, et al., No. 14-CV-4265

Powell v. General Motors LLC, No. 14-CV-4778

Ramirez, et al. v. General Motors LLC, et al., No. 14-CV-4267

Ratzlaff, et al. v. General Motors LLC, No. 14-CV-4346

Roach, et al. v. General Motors LLC, et al., No. 14-CV-4810

Robinson, et al. v. General Motors LLC, et al., No. 14-CV-4699

Rollins, et al. v. General Motors LLC, et al., No. 14-CV-7242

Ross, et al. v. General Motors LLC, et al., No. 14-CV-4756

Roush, et al. v. General Motors LLC, et al., No. 14-CV-4704

Ruff, et al. v. General Motors LLC, et al., No. 14-CV-4764

Rukeyser, et al. v. General Motors LLC, No. 14-CV-5715

Saclo et al. v. General Motors LLC, et al., No. 14-CV-4751

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Salazar, III, et al. v. General Motors LLC, et al., No. 14-CV-4859

Salerno, et al. v. General Motors LLC, et al., No. 14-CV-4799

Santiago, et al. v. General Motors LLC, No. 14-CV-4632

Satele, et al. v. General Motors LLC, No. 14-CV-4273

Sauer, et al. v. General Motors, et al., No. 14-CV-5752

Sesay, et al. v. General Motors LLC, et al., No. 14-CV-6018

Shollenberger v. General Motors LLC, No. 14-CV-4338

Silvas, et al. v. General Motors LLC, No. 14-CV-4342

Skillman, et al. v. General Motors LLC, et al., No. 14-CV-3326

Smith, et al. v. General Motors LLC, et al., No. 14-CV-5338

Spangler, et al. v. General Motors LLC, No. 14-CV-4755

Stafford, et al. v. General Motors LLC, No. 14-CV-4808

Stafford-Chapman, et al. v. General Motors LLC, et al., No. 14-CV-5345

Stevenson v. General Motors LLC, No. 14-CV-5137

Taylor Deushane, et al. v. General Motors LLC, No. 14-CV-4732

Turpyn, et al. v. General Motors LLC, et al., No. 14-CV-5328

Villa, et al. v. General Motors LLC, et al., No. 14-CV-4801

Williams, et al. v. General Motors LLC, et al. No. 14-CV-7979

Witherspoon, et al. v. General Motors LLC, et al., No. 14-CV-4702

Woodward, et al. v. General Motors LLC, et al., No. 14-CV-4226

Yagman v. General Motors Company, et al., No. 14-CV-9058




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